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                             UNITED STATES DISTRICT COURT                             FILED
                              DISTRICT OF SOUTH DAKOTA                                JUL 2 3 2000
                                  SOUTHERN DIVISION                                  ~_

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                                               *
UNITED STATES OF AMERICA,         *                   CR 08-40026
                                  *
          Plaintiff,              *
                                  *
      vs.                         *                               ORDER
                                  *
AINOI MANILA, a!k/a "Johnny," and *
SOMPHONE SINGSAATH, a!k/a "Mike," *
                                  *
           Defendants.            *
                                  *
*****************************************************************************
       Counsel for Defendant Somphone Singsaath has filed a Second Motion to Continue, Doc.
40, requesting the Court to continue the trial date for a period of at least three (3) weeks, and the
Government has no objection. After consideration of the file in this matter, the Court finds that
failure to grant the continuance of the trial date would deny counsel the reasonable time necessary
for effective preparation, taking into account the exercise of due diligence and further that failure
to grant the continuance would deny the public interest in bringing this case to trial in an orderly
fashion. Further, the Court finds that the ends ofjustice served by continuing this trial outweigh the
best interests of the public and the Defendants in a speedy trial. For all of those reasons as well as
those set forth in the Motion,

        IT IS ORDERED:

        1.     That Defendant Somphone Singsaath' s Second Motion to Continue, Doc. 40,
               is granted.

        2.     That August 12, 2008, is hereby set as the deadline for submission to the
               Court of any proposed plea agreement.

        3.     That all motions in limine shall be in writing and filed, together with
               proposed instructions, with the Court ten (10) working days before trial.

        4.     That the jury trial herein for Defendants shall commence in Sioux Falls,
               South Dakota, on Tuesday, September 9,2008, with counsel to be present for
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              motions in limine at 9:00 A.M., and with the jury to report at 9:30 A.M.

      5.      That if this case goes to trial, it will be transferred to the Honorable John B.
              Jones.

      6.      That the period of delay resulting from such continuance is excluded in
              computing the time within which the trial of the offense for the Defendants
              must commence, as the Court finds that the ends of justice served by taking
              such action outweigh the best interests of the public and the Defendants in
              a speedy trial. 18 U.S.c. § 3161(h)(8)(A).

      Dated   thisl~ay of July, 2008.
                                              BY THE COURT:



                                              L      rence L. Piersol
ATTEST:                                           nited States District Judge
JOSEPH HAAS, CLERK

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